     Case 3:15-cr-02680-WQH   Document 44    Filed 01/07/16   PageID.98   Page 1 of 1
                                                                    FILED
                       UNITED STATES DISTRICT COUR                   JAN 0 7 2016
                     SOUTHERN DISTRICT OF CALIFO


UNITED STATES OF AMERICA.'                  CASE NO. 15CR2680-WQH

                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
MARCO ANTONIO ALONSO­
SEPULVEDA,

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

~    an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

    the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Indictment/Information:

     8:1326(a) (b) - Attempted Reentry of Removed Alien



          IT IS THEREFORE ADJUDGED that the de                      hereby discharged.


 DATED: 01/07/2016
                                            Karen S
                                            U.S. Magistrate Judge
